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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                      :
                                              :
       v.                                     :   CRIMINAL DOCKET No. 2:19-cr-00399
                                              :
JOSHUA PADILLA                                :   HONORABLE EDUARDO C. ROBRENO

                          MOTION TO CONTINUE SENTENCING

       AND NOW, Defendant, Joshua Padilla, by and through counsel, Jack McMahon,

Esquire, hereby submits this Motion to Continue Sentencing and avers the following:

       1. Defendant is scheduled for sentencing on June 22, 2022.

       2. This is the first scheduled listing for sentencing.

       3. Defense is requesting more time to prepare for sentencing.

       4. There are some open matters that may be helpful to be resolved prior to this

sentencing.

       5. Defendant remains in custody and Assistant United States Attorney Josh Davison have

no objection to this request for a continuance.

       WHEREFORE, it is respectfully requested that sentencing in the above captioned case

be continued.


                                              Respectfully submitted,



Date: June 16, 2022                           /s/ Jack McMahon
                                              Jack McMahon
                                              Attorney for Defendant Joshua Padilla
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certify that on this date a copy of the foregoing Motion to
Continue Sentencing was served by way of the Court’s Electronic Case Filing system upon the
following:

Honorable Eduardo C. Robreno
United States District Court
Eastern District of Pennsylvania
United States Courthouse
601 Market Street, Room 11614
Philadelphia, PA 19106

Josh A. Davison, AUSA
Office of the United States Attorney
615 Chestnut Street, Suite 1250
Philadelphia, PA 19106



Date: June 16, 2022                        /s/ Jack McMahon
                                           Jack McMahon
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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                :
                                        :
      v.                                :     CRIMINAL DOCKET No. 2:19-cr-00399
                                        :
JOSHUA PADILLA                          :     HONORABLE EDUARDO C. ROBRENO

                                       ORDER

      It is hereby ORDERED and DECREED that Defense Motion to Continue Sentencing in

the above-captioned case is hereby GRANTED.




                                        _______________________
                                        J.
